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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         WAYCROSS DIVISION

UNITED STATES OF AMERICA,                 *

              Plaintiff,                  *

vs.                                       *   CASE NO.: 5:21CR0009-01

MARIA LETICIA PATRICIO (01),              *

              Defendant.                  *

  MOTION TO DISMISS THE MAIL FRAUD CONSPIRACY COUNT
(COUNT 1), and THE SUBSTANTIVE MAIL FRAUD COUNTS (COUNTS
                          2 and 3)

        MARIA LETICIA PATRICIO, Defendant herein, by and through

undersigned counsel, moves to dismiss the mail fraud conspiracy count, (count 1),

and the substantive mail fraud count (counts 2 and 3) of the Indictment, pursuant to

Fed.R.Crim.P. 12(b)(2), Fed.R.Crim.P. 12(b)(3)(B), and the Due Process Clause of

the Fifth Amendment and respectfully shows the following:

                                I. INTRODUCTION

        Mrs. Patricio is charged with conspiracy to commit mail fraud in violation of

18 U.S.C. § 1349 (count 1) and mail fraud in violation of 18 U.S.C. § 1341 (counts

4-7), among other charges. Doc 3. However, this motion focuses only on the mail

fraud conspiracy and substantive mail fraud counts.




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     1. The Indictment.

       The indictment alleges on pages six though twelve, the defendants and their

supposed roles in the conspiracy. With respect to Mrs. Patricio, the indictment

alleges that she and codefendants Daniel Mendoza and Brett Donavan Bussey filed

fraudulent I-129 Petitions for Non-Immigrant Workers to bring foreign workers

into the United States under the H-2A program. Id. p. 6, ¶¶ 15 and 16, p. 7, ¶ 20, p.

8, ¶¶ 22 and 23, p. 12, ¶ 35.

       Count one alleges a conspiracy to commit mail fraud in violation of 18

U.S.C. § 1349. Id. p. 13 – 31. The government alleges that the scheme to defraud

was executed by means of materially false and fraudulent pretenses,

representations and promises with the object to make money in part by mailing

fraudulent petitions, p. 14, ¶¶ 39-40, defined earlier to be I-129 petitions. Id. p. 4, ¶

4.

       The indictment alleges that it was part of the conspiracy that the conspirators

located in the United States would prepare and mail fraudulent I-129 petitions. Id.

p. 15, ¶ 45.

       Counts 2 and 3 charge Mrs. Patricio with mail fraud in violation of 18

U.S.C. § 1341. Paragraph 66 alleges that it was part of the scheme to defraud to

complete I-129 petitions with false and fraudulent information for nonimmigrant

H-2A visas, obtain fraudulent signatures and fake documents for purported


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employers, and without authority and with intent to defraud, and mail the false and

fraudulent petitions to the government for processing. Id. p. 32-33, ¶¶ 66 and 67.

              II. ARGUMENT AND CITATION OF AUTHORITIES

    A. Legal Standard

       Rule 7 of the Federal Rules of Criminal Procedure mandates that an

indictment contain a “plain, concise, and definite written statement of the essential

facts constituting the offense charged.” Fed. R. Crim. P (7)(c)(1). That requirement

codifies the basic principles of fundamental fairness inherent in the Sixth and Fifth

Amendments. Russell v. United States, 369 U.S. 749, 763-66 (1962). The Supreme

Court has “identified two constitutional requirements for an indictment: first, [it

must] contain[] the elements of the offense charged and fairly inform[] a defendant

of the charge against which he must defend, and, second [it must] enable[] him to

plead an acquittal or conviction in bar of future prosecutions for the same offense.”

United States v. Resendiz-Ponce, 549 U.S. 102, 107 (2007) (quoting Hamling v.

United States, 418 U.S. 87, 117 (1974); accord United States v. Steele, 147 F.3d

1316, 1320 (11th Cir. 1998) (en banc) (citing United States v. Dabbs, 134 F.3d

1071, 1079 (11th Cir. 1998)).1 From a practical standpoint, these two requirements

are closely related in the sense that any indictment failing to satisfy the first

requirement would likely fail to satisfy the second.

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 Unless otherwise indicated, all references to citations and quotations have been omitted and all
emphasis added.
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      To pass constitutional muster, an indictment must include a description of

the charges sufficiently detailed to 1) enable the defendant to prepare his defense,

2) ensure that the defendant is prosecuted on the basis of facts presented to the

grand jury, 3) enable him to plead jeopardy against a later prosecution and 4)

inform the court of the facts alleged so that it can determine the sufficiency of the

charges. United States v. Cecil, 608 F.3d 1294, 1296 (9th Cir. 1979) (per curiam);

Russell, 369 U.S. at 764; see also, e.g., United States v. Bobo, 344 F.3d 1076, 1084

(11th Cir. 2003) (reversing healthcare fraud conviction where “indictment ma[de]

only a broad allegation of fraud in a health care benefit program without the

required specificity,” and noting that “[a]n indictment that requires speculation on

a fundamental part of the charge is insufficient”).

      Generally, a facially valid indictment returned by a duly constituted grand

jury suffices to call for a trial on the merits of the charges set forth therein. See

Costello v. United States, 350 U.S. 359, 363, 76 S.Ct. 406 (1956). Therefore, a

motion challenging the sufficiency of an indictment must be decided by examining

only the “face” of the indictment. See United States v. Walker, 490 F.3d 1282,

1296 (11th Cir. 2007) (citing United States v. Sharpe, 438 F.3d 1257, 1263 (11th

Cir. 2006)). However, a defendant may raise, by pretrial motion, any defense “that

the court can determine without a trial of the general issue.” Fed.R.Crim.P. 12(b).




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       In interpreting the language in an indictment, the former Fifth Circuit

instructed that where an indictment “is subject equally to one of two

interpretations, one of which states an offense and the other which does not, the

indictment is insufficient since there is no assurance that the Grand Jury would

have returned the indictment had the words been employed in the sense necessary

to sustain the conviction.” Standard Oil Co. of Texas v. United States, 307 F.2d

120, 130 (5th Cir. 1962)2 (citing Smith v. United States, 360 U.S. 1, 79 S.Ct. 991

(1959); Beitel & Brownrigg v. United States, 306 F.2d 665 (5th Cir.,

1962); Russell, 369 U.S. 749).

       To inform the defendant of the charges, however, the indictment must

contain “such a statement of the facts and circumstances as will inform the accused

of the specific offence, coming under the general description, with which he is

charged.” Hamling, 418 U.S. at 117-118. Tracking the language of the statute,

alone, is inadequate. That rule reflects the settled understanding that a “crime is

made up of acts and intent; and these must be set forth in the indictment with

reasonable particularity of time, place, and circumstances.” United States v. Hess,

124 U.S. 483, 487-488, 8 S.Ct. 571 (1888).




2
 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the Eleventh
Circuit Court of Appeals adopted as binding precedent all decisions of the former Fifth Circuit
handed down prior to October 1, 1981.
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        The purpose of this requirement is “to inform the court of the facts alleged,

so that it may decide whether they are sufficient in law to support a conviction, if

one should be had.” Russell, 369 U.S. at 768. “Another reason . . . and one

sometimes overlooked, is to enable the court to decide whether the facts alleged

are sufficient in law to withstand a motion to dismiss the indictment.” Id., at 768 n.

15.

        Far from being unnecessary, unduly formal, or anachronistic, “these basic

principles of fundamental fairness retain their full vitality under modern pleading,

and specifically under Rule 7(c) of the Federal Rules of Criminal Procedure.”

Russell, 369 U.S. at 765; see Fed. R. Crim. P. 7(c)(1) (requiring indictment to

contain “plain, concise, and definite written statement of the essential facts

constituting the offense charged”). It is therefore “perfectly proper, and in fact

mandated, that [a] district court dismiss an[y] indictment” that “fails to allege facts

which constitute a prosecutable offense.” United States v. Coia, 719 F.2d 1120,

1123 (11th Cit. 1983); accord United States v. Cure, 804 F.2d 625, 627 (11th Cir.

1986).

        A. The Allegedly Fraudulent Representations are Essential Facts that
           the Indictment Must Identify.

        The mail fraud conspiracy alleges that the conspirators executed a “scheme

to defraud and to obtain money by means of materially false and fraudulent

pretenses, representations and promises . . .” Doc # 3, p. 14. The object of the
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conspiracy the indictment alleges was, among other things, to make money from

illegal activities by mailing fraudulent petitions. Id. p. 14, ¶ 40. And it alleges that

Mrs. Patricio and codefendants Daniel Mendoza and Brett Donovan Bussey filed

fraudulent I-129 Petitions for Non-Immigrant Workers to bring foreign workers

into the United States under the H-2A program. p. 6, ¶¶ 15 and 16, p. 7, ¶ 20, p. 8,

¶¶ 22 and 23, p. 12, ¶ 35.

         Similarly, the substantive mail fraud counts allege that the defendants

devised a scheme to defraud the United States government to obtain “money by

means of false and fraudulent pretenses, representations and promises . . .” Id. p.

32, ¶ 65. It was part of the scheme, the indictment alleges, that the defendants,

    - completed I-129 petitions with false and fraudulent information,

    - obtained fraudulent signatures and fake documents for purported employers

in the United States, and

    - mailed the false and fraudulent petitions.

Id. p. 32-33, ¶¶ 66 (a)-(c).

         However, the indictment does not identify a single allegedly fraudulent

statement, fraudulent signature, fake document, or representation. The indictment,

therefore, falls well short of the standards set by the Constitution and the Federal

Rules.




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      In order to prevail on a charge of mail fraud, the government must prove, (1)

the defendant knowingly devised or participated in a scheme to defraud by using

false or fraudulent pretenses, representations, or promises; (2) the false or

fraudulent pretenses, representations, or promises were about a material fact; (3)

the defendant intended to defraud someone; and (4) the use of the mails to help

carry out the scheme to defraud. Eleventh Circuit Pattern Instruction No. 051.0. By

using the common-law term “defraud,” the statute implicitly requires

misrepresentation or concealment of a material fact. Neder v. United States, 527

U.S. 1, 21-25 (1999).

      An indictment must adequately allege each element of the offense, and

although the statutory language may be used in the general description of the

offense, that description must be accompanied by a statement of facts and

circumstances that will inform the accused of the specific offense with which he is

charged. Russell, 369 U.S. at 765. The level of particularity required to fulfill the

constitutional purposes of an indictment varies depending on the statute and the

nature of the crime. An indictment must provide greater particularity where the

statute defines the elements of the offense in generic terms. Id.

      Courts have recognized the need to include factual particularity above and

beyond the generic statutory language in indictments charging mail or wire fraud

because of the generic nature of the term “scheme to defraud.” “[A]n indictment


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[that] alleges a scheme to defraud under the . . . wire fraud statute[] . . . must

specify facts not merely in the general words of the statute, but with such

reasonable particularity as will apprise the defendant, with reasonable certainty, of

the nature of the accusation.” United States v. Steffen, 687 F.3d 1104, 1113 (8th

Cir. 2012) (alterations and internal quotation marks omitted) (noting that the

definition of fraud is “not capable of precise definition”); see United States v.

Curtis, 506 F.2d 985, 992 (10th Cir. 1974) (citing Russell in holding that wire

fraud indictment needs to provide a “fair indication of the nature and character of

the scheme or artifice relied upon, or the false pretense, misrepresentations, or

promises forming a part of it”); accord United States v. Buckley, 689 F.2d 893, 897

(9th Cir. 1982) (“Indictments alleging a scheme to defraud must provide sufficient

facts to fulfill the purposes of the indictment.”). Courts have recognized this

principle in analogous contexts where the falsity of a statement determines guilt or

innocence. See United States v. Slawick, 548 F.2d 75, 83-84 (3d Cir. 1977)

(reversing perjury conviction where indictment failed precisely to state the alleged

false statements); United States v. Nance, 533 F.2d 699, 700-02 (D.C. Cir. 1976)

(per curiam) (dismissing counts in indictment alleging false pretense fraud under

D.C. law for failure to identify “the factual particulars of the false representations”

that were “the very core of the offense”).




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      B. The Indictment’s Failure to Identify the Alleged Fraudulent
         Representations Renders it Unconstitutionally Vague.

      The indictment is unconstitutionally vague as it does not identify any of the

allegedly false representations or pretenses that are the core of the scheme to

defraud.

      The indictment’s failure to allege the fraudulent or false nature of the I-129

Petitions undermines the core purpose of an indictment. Mrs. Patricio cannot

prepare her defense without knowing what false and fraudulent information was

included in the I-129 Petitions, or what false and fraudulent pretenses and

representations she made. And, neither this Court, nor the defense can be confident

that the grand jury determined what false and fraudulent representations Mrs.

Patricio made. Therefore, the indictment should be dismissed.

      WHEREFORE, based on the reasons and authorities cited above, Mrs.

Patricio respectfully requests that her Motion to Dismiss Count 1 and Counts 2 and

3 be granted.

      This the 14th day of December, 2023.

                                         /s/ Juanita M. Holsey
                                         Juanita M. Holsey
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                            CERTIFICATE OF SERVICE

      The undersigned certifies that I have on this day served all the parties in this

case in accordance with the notice of electronic filing (“NEF”) which was

generated as a result of electronic filing in this court.

      This 14th day of December, 2023.

                                            /s/ Juanita M. Holsey
                                            Juanita M. Holsey
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                                            Attorney for Defendant

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